                 Case 4:22-cv-00385 Document 1-5 Filed on 02/07/22 in TXSD Page 1 of 8




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23818348
Notice of Service of Process                                                                            Date Processed: 09/24/2021

Primary Contact:           Walgreens Distribution
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Walgreen Co.
                                              Entity ID Number 0501431
Entity Served:                                Walgreen Co
Title of Action:                              James Cusack vs. Walgreen Co.
Matter Name/ID:                               James Cusack vs. Walgreen Co. (11587144)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Harris County District Court, TX
Case/Reference No:                            202161047
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/23/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Brevin Jackson
                                              713-322-4878

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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               Case 4:22-cv-00385 Document 1-5 Filed on 02/07/22 in TXSD Page 2 of 8
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                                                     CAUSE N0. 202].61047                        1'y' ------~          C~-
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                                                               RECEIPT NO: 930549 TRACKING NO: 73919137
                                                                   EML
Plauitiff:                                                                           In The 234th
CUSACK, JAMES                                                                        Judicial District Court of
vs•                                                                                  Harris County, Texas
Defendant:                                                                           201. CAROLINE
WALC'TREENS CO                                                                       Houston, Texas
                                                    CITA'i'IOPd C®I8I'OI2ATE
THL+' STATE OI+ TI;XAS
County of I-Iarris

To:    WAI,GI2I3I,+N C® (AN ILLINO.IS COI2POI2rg.TION) BY SI3I8VI1VG ITS ILEGISTKIZI'+.D AGE+1RT7' PI2EN`I'ICI?
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211 E 7TH STIRFKTSIT.ITE 62(D, Al<JSTIN T% 7$701.

         Attached i.s a copy of: .PLAINTIFF'S ORIGINAL PETITION

This instt-ument was filed on September 21, 2021 in the above cited cause number and court. The instiliment attached
describes the claim against you.

        YOLT I-IAVE BF.I:N SIJEl). You may employ an atto.rney. If you or your Attorney do not file a wr.itte.n auswer wi.th
the District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expi.ration date of 20 days after
you were sei-ved this citation and petition, a default judg,nnent may be taken agauist you. In addition to filing a ~A-a-itten answer
with the clerk, you may be i-equired to make initial disclosures to the other parties of this su.it. T.hese discl.osures genera.l.ly
must be made no later thaii 30 days after you file your answer with the clerk. Find oat more at TexasLawHelp.org.

         This citation was issued on September 22, 2021, under my hand and seal of said court.



Issued at the renuest of:                                ,.~~ -                        Marilyn Burgess, District Clerk
                                                  ,~ pf tiq~
JACKSON, BREVIN J.                               ~~~Q`'~ '""`"",~rs~, ~                Harris County, Texas
440 Louisiatia St, Suite 1400                                                          201 CAROLINE Houston Texas 77002
Houston, TX 77006                               i~. `:            i-~,~                (PO Box 4651, Houston, Texas 7721.0)
409-7fi1-51.42
Bar Number: 24120352
                                                                                       Generated By:LISA THOMAS




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     Case 4:22-cv-00385 Document 1-5 Filed on 02/07/22 in TXSD Page 3 of 8

                                                                                                          9/21/2021 1:24 PM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 57453820
                                                                                                             By: Lisa Thomas
                                                                                                   Filed: 9/21/2021 1:24 PM

                                     CAUSE NO.

JAMES CiTSACK                                  §                     IN TIiE I)IS'I'ItICT COiJIZT
                                               §
        Plcaintiff,                            §
                                               §
V.                                             §                     I€AlaIZIS COgJN'I'Y, 'I'EXAS
                                               §
WALGREEN CO.                                   §
                                               §
        Defendant.                             §                           JU®ICIAL DISTI2IC'I'

                             PI,AINTIFIF'S ORIGIIoiAI., PETITION

        Plaintiff, James Cusack (hereinafter, "Plaintiff') complains of Defendant, Walgreen Co.,

(hereinafter, "Defendant"), and would respectfully show the Court tliat:

                                      I)iscovery Control I'lan

1.      Plaintiff intends to conduct discoveiy in this matter under Level 3 of the Texas Rules of

Civil Procedure.

                                      Jurisdiction and `Ienue

2.      The claims asserted arise under the common law of Texas. This Court has jurisdiction and

venue is proper because all or a substantial part of the events or omissions giving rise to the claim

occurred in Harris County, Texas.

                         Staternent 12egarding Monetary 12elief Sougltt

3.      Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff seelcs monetary relief of no more

than $250,000.00, including damages of any kind, penalties, costs, expenses, pre judginent

interest, and attorneys' fees and judgment for all other relief to which Plaintiff is justly entitled.

Plaintiff fiirther pleads that the amount in controversy in this matter does not exceed $75,000.00.

                                               Parties

4.      Plaintiff is an individual residing in Hams County, Texas.
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5.      Defendant, Walgreen Co. (hereinafter "Defendant"), is an Illinois corporation engaged in

business in Harris County, Texas. Defendant may be served with process by serving its registered

agent, Prentice Hall Corporation System, at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

                                                Facts

6.      This lawsuit is necessary as a result of personal injuries that Plaintiff received on or about

August 20, 2021. At that time, Plaintiff was an invitee at Defendant's store at 411 Mason Road,

Katy, Texas 77450. Plaintiff was walking through the Defendant's store when an employee

opened a door and struck him in the head and arm causing him to bleed. The contact with the door

caused the Plaintiff to suffer severe iiijuries. There were no waniing signs present or any other

signs of caution near the area where the incident occurred. Plaintiff was not aware of the dangerous

and defective condition.

7.      At the time of the incident in question, Plaintiff was an invitee of the Defendant. Defendant

knew or should have lcnown of the unreasonably dangerous condition and neither corrected nor

wanied Plaintiff of it. Plaintiff did not have any knowledge of the dangerous conditioii and could

not have reasonably been expected to discover it. Defendant either created the condition and/or

failed to correct the condition or to warn Plaintiff about the dangerous condition, which constituted

negligence, and such negligence was a proximate cause of the occurrence in question a.nd

Plaintiff's resulting iniuries.

8.      Plaintiff would show that, based on the above-described facts, Defendant was negligent.

Defendant, as occupier and owner of the premises, with control over the premises, had a duty to

inform Plaintiff of the dangerous condition and make safe the defective condition existing on

Defendant's premises.




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9.       Defenda.nt is liable to Plaiiitiff under the theory of premises liability and negligence based

on the following negligent conduct:

            a. Failure to maintain the premises, including floor and walkways, in a reasonably
               safe condition;

            b. Failure to inspect the premises where the dangerous condition existed;

            c. Failure to coi-rect the condition by taking reasonable measure to safeguard persons
               who entered the premises;

            d. Failure to inform Plaintiff of the dangerous condition existing on the premises;

            e. Negligently hired and/or retained employees;

            f. Negligently trained and/or supervised employees; and

            g. Other acts deemed negligent.

10.     Each of the foregoing negligent acts and/or omissions, whether taken singularly or in any

combination, was a proximate cause of Plaintiff's injuries and damages that are described below.

11.     Defendant was also negligent in that it failed to act as a reasonably prudent premise owner

would act in the same or similar situation.

                                              Daanages

12.     As a result of these acts or omissions, Plaintiff sustained damages recognizable by law.

13.     By virtue of the actions and conduct of Defendant as set forth above, Plaintiff was seriously

injured and is entitled to recover the following damages:

            a. Past and future medical expenses;

            b. Past and future pain, suffering and mental anguish;

            c. Past and future physical impairment;

            d. Past and future physical disfigurement; and

            e. Past lost wages and future loss of earning capacity.



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14.     By reason of the above, Plaintiff is entitled to recover damages from Defendant in an

amount within the jurisdictional limits of this Court, as well as pre and post-judgment interest.

                                          I)uty to I)isclose

15.     Pursuant to 194, Tex. R. Civ. P. exempted by Rule 194.2(d), Defendant must, without

awaiting a discovery request, provide to Plaintiff the information or material described in Rule

194.2, Rule 194.3, and Rule 194.4.

                                         Initial Disclosures

16.     Pursuant to Rule 194, Tex. R. Civ. P., Defendant must, without awaiting a discovety

request, provide information or materials described in Texas Rule of Civil Procedure 194.2 in

Defendant's initial disclosure at or within 30 days after the filiiig of the first answer. Copies of

documents and other tangible things must be served with Defendant's response.

                                         Rule 193.71®'otiee

17.    Plaintiff hereby gives actual notice to Defendant that any and all documents produced

inay be used against Defendant at any pre-trial proceeding and/or at trial of this matter without the

necessity of authenticating the documents.

                                               Pr~

       Plaintiff prays that this citation issues and be served upon Defendant in a form and manner

prescribed by law, requiring that Defendant appears and answers, and that upon final hearing,

Plaintiff has judgment against Defendant in a total sum in excess of the minimum jurisdictional

limits of this Court, plus pre and post-judgment interest, all costs of Court, and all such other and

further relief, to which he may be justly entitled.




                                                       [Signature block on next page]

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                                     Respectfully submitted,

                                     I)ASPI'I' LAW FIRIVI

                                     /s/Breviii Jacicsoiz
                                     Brevin Jackson
                                     Texas State Bar No. 24120352
                                     440 Louisiana St., Suite 1400
                                     Houston, Texas 77002
                                     Telephone: (713) 322-4878
                                     Facsimile: (713) 587-9086
                                     Email: e-service@daspitlaw.com

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        Case 4:22-cv-00385 Document 1-5 Filed on 02/07/22 in TXSD Page 8 of 8



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This automated certificate of service was created by the efiling system.
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Brittani Hubenak on behalf of John Daspit
Bar No. 24048906
brittani@daspitlaw.com
Envelope ID: 57453820
Status as of 9/21/2021 1:57 PNI CST
Case Contacts

Rlame                    BarNumber Email                       TimestampSubmitted Status

Alma Lira                          Alira@proactivelegal.com    9/21/2021 1:24:50 PM   SENT

Jamie GailMallard                  jmallard@daspitlaw.com      9/21/2021 1:24:50 PM   SENT

John Daspit                        e-service@daspitlaw.com     9/21/2021 1:24:50 PM   SENT

Brevin Jackson                     jackson@daspitlaw.com       9/21/2021 1:24:50 PM   SENT

Brittani Hubenak                   brittani@daspitlaw.com      9/21/2021 1:24:50 PM   SENT

Daspit Proactive Legal             daspit@proactivelegal.com   9/21/2021 1:24:50 PM   SENT
